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 1   BARRY J. PORTMAN
     Federal Public Defender
 2   LARA S. VINNARD
     Assistant Federal Public Defender
 3   160 West Santa Clara Street, Suite 575
     San Jose, CA 95113
 4   Telephone: (408) 291-7753

 5   Counsel for Defendant FITZGERALD

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 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                           SAN JOSE DIVISION                      *E-FILED - 9/21/06*
10
     UNITED STATES OF AMERICA,             )              No. CR 06-0074 RMW
11                                         )
                       Plaintiff,          )              STIPULATION TO CONTINUE
12                                         )              HEARING AND EXCLUDE TIME;
     v.                                    )              ORDER
13                                         )
     JAMES FITZGERALD,                     )
14                                         )
                       Defendant.          )
15   _____________________________________ )

16            Defendant and the government, through their respective counsel, hereby stipulate that,

17   subject to the court’s approval, the hearing in the above-captioned matter, presently scheduled for

18   Monday, September 18, 2006, should be continued to October 23, 2006, The defense requests

19   the continuance because the defense requires additional time to discuss possible settlement with

20   Mr. Fitzgerald, and the government requires time to consider a settlement offer.

21            The parties further agree that time should be excluded under the Speedy Trial Act from

22   September 18, 2006, to October 23, 2006, because the defense requires time for investigation and

23   preparation, and the ends of justice outweigh the defendant’s and the public’s need for a speedy

24   trial.

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     STIPULATION TO CONTINUE
     HEARING DATE; ORDER
     No. C R 0 6-0 07 4 RM W                          1
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 1   Dated: 9/14/06                                         _______/s/________________
                                                            LARA S. VINNARD
 2                                                          Assistant Federal Public Defender

 3   Dated: 9/14/06                                         ______/s/__________________
                                                            SUSAN KNIGHT
 4                                                          Assistant United States Attorney

 5
                                                     ORDER
 6
            The parties have jointly requested a continuance of the hearing set for September 18,
 7
     2006, on grounds that the defense requires additional time for preparation, and the government
 8
     requires time to consider a settlement offer.
 9
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the hearing date
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     presently set for September 18, 2006, be continued to October 23, 2006, at 9:00 a.m.
11
            Pursuant to the parties’ stipulation, IT IS FURTHER ORDERED that the period of time
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     from September 18, 2006, to October 23, 2006, shall be excluded from the period of time within
13
     which trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
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     Dated: 9/21/06                                          /S/ RONALD M. WHYTE
                                                            __________________________________
16                                                          RONALD M. WHYTE
                                                            United States District Judge
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     STIPULATION TO CONTINUE
     HEARING DATE; ORDER
     No. C R 0 6-0 07 4 RM W                           2
